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                        United States Court of Appeals
                        FOR THE EIGHTH CIRCUIT
                            ____________________
                                  No. 18-1654
                            ____________________
Mahmood Khan,                      *
                                   *
            Appellant,             *     NOTICE OF JOINT APPENDIX
                                   *
      v.                           *
                                   *
City of Minneapolis, a municipal   *
Corporation, and DOES 1-10,        *
                                   *
            Appellees.             *
                            ____________________
PLEASE TAKE NOTICE that the parties expect to come to an agreement on
determining the method of Appendix preparation in the above-captioned appeal.
Appellant expects that the Appendix will include a transcript from the September
6, 2017 motion hearing, and a copy of the District Court’s February 20, 2018 Order
in the case.


Date: April 13, 2018                              Respectfully submitted,
                                                    James Heiberg
                                                  _________________________
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